              Case 8:19-bk-06147-RCT           Doc 19     Filed 08/26/19      Page 1 of 3



                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

In Re:                                                          Case No: 8:19-bk-06147-RCT
                                                                Chapter 7
Ronald David Steele

         Debtor(s).
                                           /


               CHAPTER 7 TRUSTEE’S APPLICATION TO EMPLOY A
         LICENSED REAL ESTATE BROKER AND SHORT SALE NEGOTIATOR

Nicole M. Cameron, Chapter 7 Trustee in the above case, files this Application to Employ Real
Estate Broker and Short Sale Negotiator and states:
   1. That she is the duly qualified and acting Trustee in the estate.
   2. That among the assets of the estate is real property.
   3. To liquidate the asset(s) for the benefit of creditors, it is necessary to sell the asset(s).
   4. From her experience, the Trustee is satisfied that the best and highest net recovery to this
         estate will arise by selling the real property through the employment and services of a
         licensed realtor. (A copy of the proposed listing agreement is attached hereto and made a
         part hereof.)
   5. The Trustee seeks to employ Sean McKenney of Charles Rutenberg Realty, a licensed real
         estate broker (“Broker”), to assist the Trustee in procuring a buyer for the property(ies)
         upon the following terms and conditions:
            a. Broker shall pay the actual and necessary expenses, including, but not limited to the
                following:
                         1. Advertising;
                         2. MLS Fees;
                         3. And all customary fees in connection with the listing and sell of real
                            property.
            b. Broker is to receive a reasonable fee of up to 6% commission at the closing on the
                property and documented expenses upon Application and Order by this Court.
            Case 8:19-bk-06147-RCT           Doc 19      Filed 08/26/19     Page 2 of 3



   6. The Trustee seeks to employ Hugh Rainey of Case By Case Short Sale Consultants
       (“CBC”), to assist the Trustee in negotiating the release of its liens (if any) upon the
       following terms and conditions:
           a. CBC shall pay the actual and necessary expenses, including, but not limited to the
               following:
                     1. Clean up expenses;
                     2. Reasonable storage fees, if applicable;
           b. CBC shall be paid a percentage of the listing commission. No additional fees are
               charged by CBC.
   7. The Trustee is informed and believes, and therefore alleges, that the approval of this
       Application is in the best interest of this estate and accordingly that the Court should
       approve the employment of the Broker and of CBC as provided in 11 U.S.C. §327 (a).
   8. From the Declaration made by Sean McKenney of Charles Rutenberg Realty in connection
       with their employment as realtor, the Trustee is informed and believes that the realtor is a
       disinterested person within the meaning of 11 U.S.C. §101(14) and accordingly that it is
       appropriate to employ the realtor under the provisions of 11 U.S.C. §327(a).
   9. From the Declaration made by Hugh Rainey and Case By Case Short Sale Consultants in
       connection with their employment as short sale negotiator, the Trustee is informed and
       believes that the negotiator is a disinterested person within the meaning of 11 U.S.C.
       §101(14) and accordingly that it is appropriate to employ the negotiator under the
       provisions of 11 U.S.C. §327(a).
   10. The Broker and CBC are aware of the provisions of 11 U.S.C. §328 and have agreed
       notwithstanding the terms and conditions of employment set forth that the Court may allow
       compensation different from the compensation provided herein if such terms and conditions
       prove to have been improvident in light of developments unable to be anticipated at the
       time of fixing of such terms and conditions.


WHEREFORE, the Applicants respectfully requests this Application be approved and that the
Trustee be authorized to employ Sean McKenney of Charles Rutenberg Realty, as realtor to list
the real property(ies) for sale. and assist the Trustee in procuring a buyer for the property(ies), and
            Case 8:19-bk-06147-RCT            Doc 19     Filed 08/26/19   Page 3 of 3



to authorize the employment of Hugh Rainey and Case by Case Short Sale Consultants, as the
short sale negotiator for liens (if any) against the property(ies).
DATED: August 26, 2019

                                                /s/ Nicole M. Cameron
                                                Trustee Nicole M. Cameron
                                                235 Apollo Beach Boulevard, #231
                                                Apollo Beach, FL 33572
                                                (813) 645-8787


                                  CERTIFICATE OF SERVICE

      I certify that on August 26, 2019, a true and correct copy of the foregoing was provided by
U.S. mail and/or electronic delivery to: U. S. Trustee, ustp.region21.ecf@usdoj.gov
Ronald David Steele, 3210 Pearl Avenue, Tampa, FL 33611, Eva Donahue,
info@emdlawfirm.com ; Richard M. Dauval, Esq., rdauval@leavenlaw.com

                                                /s/ Nicole M. Cameron
                                                Trustee Nicole M. Cameron
